                 Case 22-10066-CTG        Doc 281     Filed 01/20/23      Page 1 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


  In re:                                                Chapter 7

  Team Systems International, LLC,                      Case No. 22-10066 (CTG)

                          Debtor.                       Re: D.I. 272


  George L. Miller, solely in his capacity as the
  Chapter 7 Trustee of Team Systems International,
  LLC,

                          Plaintiff,

  -against-

  Deborah Evans Mott, Steven M. Acosta,
  Christopher Mott, John S. Maciorowski,
                                                        Adv. Proc. No. 23-50004 (CTG)
  Addy Road LLC, Brent Road LLC,
  Benjamin P. Smith, Jessica M. Smith, and
                                                        Re: Adv. D.I. 3
  TSI Gulf Coast, LLC, and

  John Does 1-100,

                          Defendants.


                    CHAPTER 7 TRUSTEE’S EXHIBIT AND WITNESS LIST
                           FOR JANUARY 23, 2023 HEARING


           George L. Miller, solely in his capacity as the Chapter 7 Trustee (the “Trustee”) of the

bankruptcy estate Team Systems International, LLC and Plaintiff in the above-captioned adversary

proceeding, may introduce the following exhibits and witness testimony in support of the Motion

of the Chapter 7 Trustee for Entry of an Order (i) Extending the Freeze and Granting Preliminary

Injunctive Relief, and (ii) Granting Related Relief, Pursuant to 11 U.S.C. § 105(a) and Fed. R.




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                Case 22-10066-CTG             Doc 281       Filed 01/20/23       Page 2 of 3




Bankr. P. 7016 [Main Case D.I. 272; Adv. D.I. 3]. The following list does not include documents

or other evidence used solely for impeachment purposes.

                                     TRUSTEE’S EXHIBIT LIST1

    Exhibit #   Title/Description                                                              Reference
                Declaration of William A. Homony                                               Main Case D.I.
        A       April 2018 statement BBVA account ending -8953 (p. 2 of 5)                     273; Adv. D.I. 4
        B       Printout from the public website of the Volusia County (Florida)
                Property Appraiser regarding Ormond Beach Property
        C       June 2019 statement BBVA account ending -7954 (p. 2 of 3)
        D       July 2019 statement BBVA account ending -7965 (p. 2 of 3)
        E       July 2019 statement BBVA account ending -9759 (p. 2 of 3)
        F       June 2019 monthly transaction report BBVA account ending -
                7965 (TSI000860)
        G       July 2019 monthly transaction report BBVA account ending -
                7965 (TSI000859)
        H       July 2019 monthly transaction report BBVA account ending -
                9759 (TSI000901)
       I        Addy Road Property Deed dated July 22, 2019
       J        June 2020 statement BBVA account ending -7965 (p. 2 of 5)
       K        August 2020 statement BBVA account ending -7965 (p. 2 of 3)
       L        August 2020 statement BBVA account ending -9759 (p. 2 of 4)
       M        Blue Springs Property Deed dated August 10, 2020
       N        May 2018 statement BBVA account ending -8953 (p. 2 of 5)
       O        May 2018 monthly transaction report BBVA account ending -
                8953 (TSI000936 to TSI000937)
        P       July 2018 statement BBVA account ending -9759 (p. 2 of 4)
        Q       August 2018 statement BBVA account ending -9759 (p. 2 of 4)
        R       Bethesda Property Deed dated August 30, 2018
        S       Bethesda Property Deed dated July 22, 2019
        T       February 2020 statement BBVA account ending -2888 (p. 2 of 3)
                (TSI000180)
        U       February 2020 statement BBVA account ending -2888 (p. 2 of 3)
        V       February 2020 monthly transaction report BBVA account ending
                -2888 (TSI000891)
       W        February 2020 statement BBVA account ending -9759 (p. 3 of 4)
                (TSI000034)
        X       February 2020 statement BBVA account ending -9759 (p. 3 of 4)
        Y       Check numbers 2391, 2392 and 2393, dated March 19, 2018,
                March 20, 2018 and March 25, 2018 drawn from BBVA account
                ending -8953

1
 Exhibit A through CC were attached to the Homony Declaration and are filed at Main Case D.I. 273; Adv. D.I. 4.
Exhibit DD through KK are attached to this exhibit list.


                                                       2
            Case 22-10066-CTG       Doc 281       Filed 01/20/23    Page 3 of 3




Exhibit #   Title/Description                                                    Reference
   Z        March 2018 monthly transaction report BBVA account ending -
            8953 (TSI000940 to TSI000941)
   AA       May 2021 statement BBVA account ending -2888 (p. 2 of 3)
            (TSI000138)
   BB       May 2021 statement BBVA account ending -2888 (p. 2 of 3)
   CC       May 2021 monthly transaction report BBVA account ending -
            2888 (TSI000881)
   DD       July 2020 statement TD Bank account ending -3152                     Attached hereto
   EE       September 2020 statement TD Bank account ending -3053                Attached hereto
   FF       May 2021 statement TD Bank account ending -3053                      Attached hereto
   GG       May 2021 statement TD Bank account ending -3152                      Attached hereto
   HH       Summary of transfers concealed from Trustee and creditors            Attached hereto
    II      April 2019 statement TD Bank account ending -3152                    Attached hereto
   JJ       Statement of Financial Affairs                                       D.I. 29 and
                                                                                 attached hereto
   KK       Exhibit A to the Complaint including an additional column with       Attached hereto
            the descriptions, if any, of the transfers from the Debtor’s
            Monthly Transaction Reports


                             TRUSTEE’S WITNESS LIST

Witness                                              Testimony
William A. Homony, CIRA                              Mr. Homony is a principal of Miller
                                                     Coffey Tate LLP, accountants and
                                                     bankruptcy consultants to the Chapter 7
                                                     Trustee. Mr. Homony may testify as to the
                                                     PI Motion, any objection thereto, and any
                                                     other testimony regarding the same.



Dated: January 20, 2023                         ARCHER & GREINER, P.C.

                                                /s/ Bryan J. Hall
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                                            3
